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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-499V
                                     Filed: January 23, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
TONY SURACE,                  *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation;
v.                            *                               Attorneys’ Fees and Costs;
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Donald P. Edwards, Law Office of Donald P. Edwards, Atlanta, GA, for petitioner.
Ann D. Martin, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

        On June 11, 2014, Tony Surace (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving an influenza (“flu”) vaccine on October 3, 2012, he developed
Guillain Barre Syndrome (“GBS”). Petition ¶¶ 2, 3. On January 2, 2015, the parties filed a
stipulation in which they agreed to an award of compensation to petitioner. On January 5, 2015,
the undersigned issued a Decision adopting the parties’ stipulation for an award. See Decision
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
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on J. Stip., filed Jan. 5, 2015.

        On January 22, 2015, the parties filed a stipulation regarding attorneys’ fees and costs.
Petitioner requests a total award of attorneys’ fees in the amount of $11,448.22. Stipulation for
Fees and Costs at ¶ 3. Respondent does not object. Id. at ¶ 1. In accordance with General Order
#9, petitioner’s counsel states that petitioner has incurred no out-of-pocket expenses related to
this proceeding. Id. at ¶ 2.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioner’s motion, the undersigned GRANTS the
request for approval and payment of attorneys’ fees and costs.

        Accordingly, an award should be made as follows:

        (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney,
        Donald P. Edwards, of the Law Office of Donald P. Edwards, in the amount of
        $11,448.22.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance herewith.3

        IT IS SO ORDERED.


                                            s/ Thomas L. Gowen
                                            Thomas L. Gowen
                                            Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                               2
